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                                  UNITED STATES DISTRICT COURT
                                      FOR THE DISTRICT OF
                                        MASSACHUSETTS

                                      CASE NO. 21-CR-10250


UNITED STATES OF AMERICA,

         Plaintiff,

vs.

THOMAS WELLS,

     Defendant.
__________________________________________/

                            THOMAS WELLS’ MOTION TO TRAVEL

         COMES NOW the Defendant, THOMAS WELLS, (hereinafter “WELLS”), by and

through undersigned counsel, David J. Joffe, pursuant to the Federal Rules of Criminal

Procedure and the Local Rules of Procedure for the District Court of Massachusetts, and hereby

moves this court for the entry of an Order granting WELL’S Motion to Travel, and in

furtherance thereof, would state as follows:

         1.       WELLS request permission to go on a road trip to visit various family members

and friends. Since it’s a road trip, exact dates are difficult to predict, but WELLS has provided

the following itinerary and the people he will be visiting with and where said visits will take

place:

                 a. WELLS plans of Leaving Florida and heading to Gallatin, TN on April 23,

                      2022. WELLS will be visiting Robert Hallick, WELLS’ stepson. WELL’S

                      step-son’s address is 2147 Springdale Ln, Gallatin, TN. Ph: 772 708 7844.

                 b. WELLS plans on leaving Gallatin, TN on April 26th and head to Tucson, AZ,

                      to visit WELLS’ daughter, Jennifer Morret and Grandson Dustin Martinez.

                      The phone number where WELLS will be staying is: 520 308 2715.
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               c. WELLS will leave Tucson AZ on April 20th and travel to Queens Creek AZ to

                   visit WELLS’ nephew, Adam Fontenot and his family. WELLS’ Nephew’s

                   address is 22280 S 109th Way, Queens Creek AZ, and his phone number is 772

                   485 7082.

               d. WELLS will leave Queens Creek AZ on May 3rd and travel to Odgen, UT to

                   visit WELL’S granddaughter, Amanda Thomas and her family. WELL’S

                   granddaughter’s address is 3280 Madison Ave, Ogden, UT 84310, and her

                   phone number is 520 425 3731.

               e. WELLS will leave Ogden, UT on May 6th and travel to Lyons, CO to visit

                   WELLS’ longtime friend, Durfee Day, who recently had a stroke. Mr. Day’s

                   address is 19751 N St Vrain Road, Lyons, CO and his phone number is 970

                   361 5331.

               f. WELLS will leave Lyons CO on May 10th and head back to Florida. The

                   anticipated dated of arrival in Florida is around May 14th.

       2.       WELLS will be traveling with his girlfriend, Heather Jakubowski., her dog Cody

and WELLS’ dog Jake.

       3.       WELLS anticipates staying at a few hotels throughout the trip depending on

driving times between destinations.

       4.       WELLS’ believes that there is no objection by pretrial nor the government.

       WHEREFORE, undersigned counsel would respectfully request this Honorable Court

grant WELLS’ Motion and allow WELLS to travel and be out of Florida from April 23, 2022,

through approximately May 14, 2022.
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                                  CERTIFICATE OF SERVICE

       I, David J. Joffe, Esq., hereby certify that on this date, April 14, 2022, a copy of

the foregoing document has been served via Electronic Court Filing system on all

registered participants.

                                         Respectfully submitted,
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                                         By
                                              DAVID J. JOFFE, ESQUIRE
                                              FLORIDA BAR NO. 0814164
